                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                               )
                                                        )        Case No. 1:17-cr-83-HSM-SKL
 v.                                                     )
                                                        )
 ANDRE GRIER                                            )

                                 REPORT & RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 28,

 2017. At the hearing, defendant moved to withdraw his not guilty plea to Count One of the

 one-count Indictment and entered a plea of guilty to Count One of the Indictment, in exchange

 for the undertakings made by the government in the written plea agreement.      On the basis of the

 record made at the hearing, I find the defendant is fully capable and competent to enter an

 informed plea; the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; the plea is made voluntarily and free from any force, threats, or promises,

 apart from the promises in the plea agreement; the defendant understands the nature of the

 charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to

 Count One of the Indictment be granted, his plea of guilty to Count One of the Indictment be

 accepted, the Court adjudicate defendant guilty of the charges set forth in Count One of the

 Indictment, and a decision on whether to accept the plea agreement be deferred until sentencing.

 I further RECOMMEND defendant remain in custody until sentencing in this matter.

 Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition

 of sentence are specifically reserved for the district judge.

                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



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                                     NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge.
 Any application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
 to challenge the plea of guilty in this matter. See 28 U.S.C. '636(b).




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